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 1   CLEMENTE M. JIMÉNEZ, SBN 207136
     428 J Street, Suite 355
 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4   Attorney for Defendant
 5   MOSES PULIDO-AGUILAR
 6                        IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                       Case No.: 11-365 GEB
10
                   Plaintiff,                        STIPULATION AND ORDER FOR
11                                                   PREPARATION OF PRE-PLEA
12          v.                                       PROBATION REPORT
13   MOSES PULIDO-AGUILAR,                           DATE: March 15, 2013
14                                                   TIME: 9:00 a.m.
                                                     JUDGE: Hon. Garland E. Burrell, Jr.
15                 Defendant.
16
17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   DANIEL McCONKIE, Counsel for Plaintiff, and Attorney Clemente M. Jiménez,
19   Counsel for Defendant MOSES PULIDO-AGUILAR, and the parties mutually request,
20   that the Court order a pre-plea report to be prepared as to Defendant MOSES PULIDO-
21   AGUILAR in above-entitled matter, presently scheduled for further status conference on
22   April 19, 2013. The parties request that the court set April 18, 2013, as the deadline for
23   completion of the pre-plea report.
24          The government has provided the defense with a plea agreement. The parties are
25   requesting the pre-plea report to ascertain that the anticipated resolution is consistent with
26   Mr. Pulido-Aguilar’s criminal history. Upon confirmation of criminal history, the
27   defense anticipates a change of plea will be forthcoming.
28   //




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                           Case 2:11-cr-00365-GEB Document 166 Filed 03/21/13 Page 2 of 2


 1   DATED:                    March 11, 2013    /S/       Daniel McConkie___________
                                                           DANIEL MCCONKIE
 2
                                                           Attorney for Plaintiff
 3
 4                                               /S/       Clemente M. Jiménez________
 5                                                         CLEMENTE M. JIMÉNEZ
                                                           Attorney for MOSES PULIDO-AGUILAR
 6
 7
 8                                                       ORDER
 9
     IT IS SO ORDERED, that the United States Probation Department prepare a pre-plea
10
     presentence report as to Defendant Moses Pulido-Aguilar, to be completed by April 18,
11
     2013.
12
     Date: 3/20/2013
13
14                                                     ___________________________________
                                                       GARLAND E. BURRELL, JR.
15   DEAC_Signature-END:
                                                       Senior United States District Judge
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     61khh4bb
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